                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA,

       Plaintiff,

     v.                                                           Case No. 14-CR-197

JOSE PONCE DE LEON, et al.,

      Defendants.


               ORDER DESIGNATING CASE AS COMPLEX AND
             GRANTING CONTINUANCE UNDER SPEEDY TRIAL ACT


       On October 21, 2014 a grand jury in this district returned an eleven count indictment

against eight defendants. Jose Ponce De Leon and Yandi Ponce De Leon are charged in Count

One of the indictment with conspiracy to distribute controlled substances, heroin and cocaine,

in violation of 21 U.S.C. §§ 841(b)(1)(A), 846, and 18 U.S.C. § 2. Carlos Cornier-Nazario,

Louis Rodriguez-Ramirez, Luis Rivera-Corales, Mayra Johanna Palermo-Rodriguez, Julio

Ponce De Leon, and Alex Cornier-Torres are charged in Count Two of the indictment with

conspiracy to distribute controlled substances, heroin and cocaine, in violation of 21 U.S.C. §§

841(b)(1)(C), 846, and 18 U.S.C. § 2.

       Luis Rivera-Corales and Louis Rodriguez-Ramirez are charged in Counts Three and Six

of the indictment with knowingly distributing mixtures and substances containing heroin and

cocaine in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C), and 18 U.S.C. § 2. Jose Ponce De

Leon, Yandi Ponce De Leon, and Carlos Cornier-Nazario are charged in Counts Four, Five,

and Seven of the indictment with knowingly distributing a mixture and substance containing




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heroin in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C), and 18 U.S.C. § 2.

       Julio Ponce De Leon, Alex Cornier-Torres, and Mayra Johanna Palermo-Rodriguez are

charged in Counts Eight through Ten with knowingly and intentionally using a communication

facility in committing, causing, and facilitating the possession with intent to distribute heroin

and cocaine in violation of 21 U.S.C. § 843(b). Yandi Ponce De Leon is charged in Count

Eleven with knowingly and intentionally using a facility of interstate commerce, with intent that

a murder be committed, as consideration for the receipt of and as consideration for a promise

and agreement to pay a thing of pecuniary value, in violation of 18 U.S.C. § 1958 and 2. Luis

Rivera-Corales and Alex Cornier-Torres have yet to appear in this action. Yandi Ponce De

Leon is set to be arraigned on November 10, 2014.

       On October 21, 2014, defendant Jose Ponce De Leon moved to designate the case

complex. (Docket # 28.) The government joined the defendant’s motion on October 22, 2014

at the arraignment of Louis Rodriguez-Ramirez. (Docket # 34.) In support of this motion, Jose

Ponce De Leon pointed to his limited ability to speak English, requiring the use of an

interpreter for attorney-client communications, the length of the investigation, and the nature

of the discovery, including recorded conversations in Spanish. (Docket # 28.) The government

also pointed to the nature and volume of the discovery, which includes 30 days of wiretap

communications and numerous audio and video recordings that will need to be translated from

Spanish. The government also stated that the investigation spanned nine and a half months and

involved approximately 20 controlled buys.

       On October 22, 2014, after reviewing the motion filed by Jose Ponce De Leon and after

considering the information provided by the government on the record, I granted the motion.



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This Order memorializes my oral findings. Pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(ii),

I found based on the complexity of this case, it was unreasonable to expect adequate

preparation for pretrial proceedings or for the trial within the time limits set by the Speedy Trial

Act. I further found that under 18 U.S.C. § 3161(h)(7)(A), the ends of justice served by taking

this action outweighed the best interest of the public and the defendants in a speedy trial.

       NOW, THEREFORE, IT IS ORDERED that the parties’ request to designate the case

as complex is hereby GRANTED.

       FURTHER, IT IS ORDERED that the Court will conduct an in-person scheduling

conference for counsel only to be scheduled by separate notice.

       FURTHER, IT IS ORDERED that the time between October 22, 2014 and the date of

the scheduling conference is excluded from the speedy trial deadline of 18 U.S.C. § 3161(c)(1).


       Dated at Milwaukee, Wisconsin this 28th day of October, 2014.


                                                     BY THE COURT


                                                     s/Nancy Joseph
                                                     NANCY JOSEPH
                                                     United States Magistrate Judge




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